Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2201 Page 1 of 7
Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2202 Page 2 of 7
Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2203 Page 3 of 7
Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2204 Page 4 of 7
Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2205 Page 5 of 7
Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2206 Page 6 of 7
Case 2:09-cr-06039-WFN   ECF No. 353   filed 04/06/10   PageID.2207 Page 7 of 7
